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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 22-9094-GW-MARx                                                Date     September 18, 2023
 Title             Moog, Inc. v. Skyryse, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                             Terri A. Hourigan                         N/A
                 Deputy Clerk                            Court Reporter / Recorder                  Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                        Kazim A. Naqvi                                          Douglas E. Lumish
                          Lai L. Yip                                             Gabriel S. Gross
 PROCEEDINGS:                 TELEPHONIC CONFERENCE


The Court’s Response to Joint Report Regarding Meet and Confer on Search Terms and Reid Raithel’s
Laptop Set Forth in the Court’s Order at Docket No. 611, was issued on September 15, 2023 [631].
Counsel inform the Court resolutions were made in writing. For reasons stated on the record, the matters
are deemed MOOT.




                                                                                                      :     02
                                                                  Initials of Preparer   JG
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